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15                                                       Cricket Wireless, LLC
16
                               UNITED STATES DISTRICT COURT
17
                           NORTHERN DISTRICT OF CALIFORNIA
18
                                    SAN FRANCISCO DIVISION
19

20   URSULA FREITAS, individual, on behalf of       Case No. 3:19-cv-07270-WHA
     herself and others similarly situated,
21                                                  DECLARATION OF ANNE-MARIE
                      Plaintiffs,                   BLANDINO IN SUPPORT OF
22                                                  CRICKET WIRELESS, LLC’S
            v.                                      MOTION TO ENFORCE TEXT-
23                                                  MESSAGE AND ELECTRONIC-
     CRICKET WIRELESS, LLC,                         SIGNATURE ARBITRATION
24                                                  AGREEMENTS OF POTENTIAL
                      Defendant.                    CLASS MEMBERS
25
                                                    Date: February 24, 2022
26                                                  Time: 8:00 am.
                                                    Location: Courtroom 12, 19th Floor
27                                                  Judge: Hon. William H. Alsup

28                                                  Complaint Filed: November 4, 2019


                                                      DECLARATION OF ANNE-MARIE BLANDINO,
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 1   I, Anne-Marie Blandino, declare as follows:
 2          1.      I have personal knowledge of the following facts, and if called as a witness I could
 3
     and would testify competently as to their truth.
 4
            2.      Although I am currently employed by AT&T, I was employed by Cricket
 5
     Wireless, LLC (“Cricket”) from May 2014 to January of 2021. Between 2014 and 2016, and
 6

 7   between 2018 and 2020, I managed a field marketing organization as Director of Field Marketing.

 8   From 2016 through 2017, I managed both a customer acquisition and retention organization.

 9          3.      Following approval of the merger between AT&T and legacy Cricket, on May 18,
10
     2014, New Cricket launched on AT&T’s GSM network.
11
            4.      I am familiar with the manner in which Cricket sent text-message campaigns to
12
     account owners following its acquisition by AT&T to inform them of Cricket’s new Terms and
13
     Conditions. Although I was not personally involved in sending those text-message campaigns, I
14

15   am familiar with Cricket’s policies and procedures after the merger for sending text-message

16   notifications to account owners, as marketing would use text-messaging campaigns to send
17   marketing materials to customers. As a result, I am familiar with the Telescope platform that was
18
     used to send text messages. I also have examined the system-generated records regarding those
19
     campaigns, which were created in the regular and ordinary course of business when the text
20
     messages were sent by the Telescope platform.
21

22          5.      I have reviewed a document Bates numbered CRICKET02508560, which was also

23   appended to my prior declaration in this matter. Dkt 202-1. This document is a spreadsheet that

24   includes information regarding certain text-message campaigns sent using the Telescope
25   platform. In my position, I have worked with system-generated records of text-message
26
     campaigns and am familiar with the information these records contain.
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 1          6.      According to that spreadsheet, on May 22, 2014, Cricket sent text messages to
 2   approximately 3.4 million legacy Cricket recipients (“May 22 Messages”), informing them of
 3
     Cricket’s updated Terms and Conditions of Service, “which includes your agreement to dispute
 4
     resolution through binding individual arbitration instead of jury trials or class actions[.]” Dkt 202-
 5
     1.
 6

 7          7.      The intended recipients of the May 22 Messages were all 3.4 million Cricket

 8   account owners at the time. When Cricket updates its Terms and Conditions, its custom and

 9   practice has been to notify all account owners by text message. I have been involved in other text-
10
     message campaigns to all Cricket account owners regarding legal notices and policy changes.
11
            8.      When Cricket intended to send legal notices affecting all customers, such as
12
     updated Terms and Conditions, Cricket would send the text message to all of its account owners
13
     using an automated vendor tool (at that time, the Telescope platform).
14

15          9.      A Cricket account may have multiple lines of service. Based on my experience

16   with marketing in the wireless industry, it is standard practice when speaking publicly about a
17   company’s customer base to refer to everyone using a line of service as a “subscriber” or
18
     “customer.” But Cricket account owners control the account and are responsible for paying for
19
     service.
20
            10.     According to Cricket’s records of the May 22 Messages, Cricket sent text
21

22   messages in either English or Spanish, depending upon the account owner’s language preference.

23          11.     Specifically, Cricket sent the following text message to the 1,933,685 Cricket

24   customers who had smartphones (and an English language preference):
25          See Cricket’s updated Terms and Conditions of Service, which includes your
26          agreement to dispute resolution through binding individual arbitration instead of
            jury trials or class actions at http://mycrk.it/1kmlTEn.
27

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 1           12.     That link, if pressed by the recipient, would have taken the account owner to
 2   Cricket’s then-current Terms and Conditions (at www.cricketwireless.com/terms).
 3
             13.     Cricket sent the same message, but in Spanish, to the 284,365 legacy Cricket
 4
     customers who had smartphones (and a Spanish language preference).
 5
             14.     Cricket sent the following text message to the 1,067,453 legacy Cricket customers
 6

 7   who had feature phones (and an English language preference):

 8           Crickets new Ts&Cs, which includes dispute resolution through binding
             arbitration instead of jury trials or class actions, are at cricketwireless.com.
 9
             15.     Cricket sent the same message, but in Spanish, to the 151,711 legacy Cricket
10

11   customers who had feature phones (and a Spanish language preference).

12           16.     In my experience, there are always a small number of intended recipients of a text-

13   message campaign whose devices do not receive the original text message. When a text message
14
     is not immediately delivered to a device, the cellular network will continue to attempt to resend
15
     the message for these customers for 48 hours after the original message is sent. If the Cricket
16
     customer does not receive the original message within 48 hours, as matter of company policy and
17
     practice, Cricket would make another attempt to reach that customer using the Telescope platform
18

19   as part of a “fallout” campaign to recipients who did not receive the message when originally

20   sent.
21           17.     Cricket made additional attempts to reach the “fallout” customers from the May
22
     22, 2014 text message campaign. Specifically, Cricket sent follow-up text-messages using the
23
     Telescope platform on June 10, 2014, June 16, 2014, June 24, 2014, July 1, 2014, and July 7,
24
     2014. See Dkt 202-1.
25

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 1          I declare under penalty of perjury of the laws of the United States that the foregoing is true
 2   and correct.
 3
            Executed at Alpharetta, Georgia on January ____, 2022.
 4
                                                   _____________________
 5
                                                   Anne-Marie Blandino
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                                                                       CASE NO. 3:19-CV-07270-WHA
